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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK
  ---------------------------------------------------------------x
  JOSÉ HERNANDEZ,
                                                                              CV
                                              Plaintiff,
                      v.
                                                                              COMPLAINT
  MATERA REALTY CORP. AND CRISTINA
                                                                              JURY TRIAL REQUESTED
  PIZZA CORP.,

                                               Defendants.
  ---------------------------------------------------------------x

                                           COMPLAINT

        Plaintiff José Hernandez (hereafter referred to as “Plaintiff”), by counsel, Hanski

Partners LLC, as and for the Complaint in this action against Defendants Matera Realty

Corp. and Cristina Pizza Corp. (together referred to as “Defendants”), hereby alleges as

follows:

                                  NATURE OF THE CLAIMS

        1.       This lawsuit opposes pervasive, ongoing, and inexcusable disability

discrimination by the Defendants. In this action, Plaintiff seeks declaratory, injunctive,

and equitable relief, as well as monetary damages and attorney’s fees, costs, and expenses

to redress Defendants’ unlawful disability discrimination against Plaintiff, in violation of

Title III of the Americans with Disabilities Act (“ADA”) 42 U.S.C. §§ 12181 et. seq. and

its implementing regulations, the New York State Human Rights Law (“NYSHRL”),

Article 15 of the New York State Executive Law (“Executive Law”), the New York State

Civil Rights Law, § 40 et. seq., and the New York City Human Rights Law

(“NYCHRL”), Title 8 of the Administrative Code of the City of New York

(“Administrative Code”). As explained more fully below, Defendants own, lease, lease

to, operate, and control a place of public accommodation that violates the above-
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mentioned laws. Defendants are vicariously liable for the acts and omissions of their

employees and agents for the conduct alleged herein.

        2.       These Defendants made a financial decision to ignore the explicit legal

requirements for making their place of public accommodation accessible to persons with

disabilities – all in the hopes that they would never be caught. In so doing, Defendants

made a calculated, but unlawful, decision that disabled customers are not worthy. The

day has come for Defendants to accept responsibility. This action seeks to right that

wrong via recompensing Plaintiff and making Defendants’ place of public

accommodation fully accessible so that Plaintiff can finally enjoy the full and equal

opportunity that Defendants provide to non-disabled customers.

                              JURISDICTION AND VENUE

        3.       This Court has jurisdiction over this matter pursuant to 42 U.S.C. § 12188,

and 28 U.S.C. §§ 1331 and 1343 as this action involves federal questions regarding the

deprivation of Plaintiff’s rights under the ADA. The Court has supplemental jurisdiction

over Plaintiff’s related claims arising under the New York State and City laws pursuant to

28 U.S.C. § 1367(a).

        4.       Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because

Defendants’ acts of discrimination alleged herein occurred in this district and

Defendants’ place of public accommodation that is the subject of this action is located in

this district.

                                          PARTIES

        5.       At all times relevant to this action, Plaintiff José Hernandez has been and

remains currently a resident of the State and City of New York.




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        6.     At all times relevant to this action, Plaintiff José Hernandez has been and

remains a wheelchair user. Plaintiff suffers from medical conditions that inhibit walking

and restrict body motion range and movement.

        7.     Defendant Matera Realty Corp. owns the property located at 710 East

187th Street in Bronx County, New York (hereinafter referred to as “710 East 187th

Street”).

        8.     710 East 187th Street is located in the Belmont neighborhood of Bronx

County.

        9.     Bordering the Bronx Zoo, the neighborhood is easily reachable by

multiple modes of intercity and intracity transportation, including NYC subway and bus

stations and MetroNorth.

        10.    In addition to bordering the Bronx Zoo, Belmont is widely known as the

"Little Italy of the Bronx".

        11.    At all relevant times, defendant Cristina Pizza Corp. operates a restaurant

doing business as Joe's Little Italy Pizza ,which sells pizzas and other related and

complementary food items.

        12.    At all relevant times, defendant Cristina Pizza Corp. operates and/or leases

property located at 710 East 187th Street from defendant Matera Realty Corp.in which

the restaurant doing bsuiness as Joe's Little Italy Pizza is located (hereinafter referred to

as the “Joe's Little Italy Pizza premises”).

        13.    Upon information and belief, Matera Realty Corp. and Cristina Pizza

Corp. have a written lease agreement.

        14.    Each defendant is licensed to and does business in New York State.




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              ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

        15.     Each of the Defendants is a public accommodation as they own, lease,

lease to, control or operate a place of public accommodation, the Joe's Little Italy Pizza

premises located at 710 East 187th Street, within the meaning of the ADA (42 U.S.C. §

12181 and 28 C.F.R. § 36.104), the NYSHRL (Executive Law § 292(9)) and the

NYCHRL (Administrative Code § 8-102).

        16.     The Joe's Little Italy Pizza premises is a place of public accommodation

within the meaning of the ADA (42 U.S.C. § 12181 and 28 C.F.R. § 36.104), the

NYSHRL (Executive Law § 292(9)) and the NYCHRL (Administrative Code (§ 8-102))

as it is a facility operated by a private entity and its operations effect commerce.

        17.     Numerous architectural barriers exist at the Joe's Little Italy Pizza

premises that prevent and/or restrict access to Plaintiff, a person with a disability, which

include, but are not limited to, architectural barriers at the paths of travel.

        18.     Upon information and belief, at some time after January 1992, alterations

were made to 710 East 187th Street, including areas adjacent and/or attached to 710 East

187th Street.

        19.     Upon information and belief, at some time after January 1992, alterations

were made to the Joe's Little Italy Pizza premises, and to areas of 710 East 187th Street

related to the Joe's Little Italy Pizza premises.

        20.     Within the past three years of filing this action, Plaintiff attempted to and

desired to access the Joe's Little Italy Pizza premises.

        21.     The services, features, elements and spaces of the Joe's Little Italy Pizza

premises are not readily accessible to, or usable by Plaintiff as required by the 1991 ADA




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Standards for Accessible Design codified in 28 C.F.R. Part 36, Appendix D (hereinafter

referred to as the “1991 Standards” or the “1991 ADA”) or in the 2010 ADA Standards

for Accessible Design codified in 36 CFR part 1191 Appendices B and D and 28 CFR

part 36 subpart D (hereinafter referred to as the “2010 Standards” or the “2010 ADA”).

       22.     Because of Defendants’ failure to comply with the above-mentioned laws,

including but not limited to the 1991 Standards or the 2010 Standards and the

Administrative Code, Plaintiff was and has been unable to enjoy safe, equal, and

complete access to all of the areas of the Joe's Little Italy Pizza premises that are open

and available to the public.

       23.     Defendants’ place of public accommodation has not been designed,

constructed, or altered in compliance with the 1991 Standards, the 2010 Standards, the

1968 New York City Building Code, Administrative Code, Title 27 (“1968 BC”),

including the 1968 BC Reference Standard ANSI 117.1-1986 (“1968 Ref Std”), the 2008

New York City Building Code (“2008 BC”) including the 2008 BC Reference Standard

ICC/ANSI 117.1 2003 (“2008 Ref Std”) and the 2014 New York City Building Code

(“2014 BC”) including the 2014 BC Reference Standard ICC/ANSI 117.1 2009 (“2014

Ref Std”).

       24.     Barriers to access that Plaintiff encountered and/or which deter Plaintiff

from patronizing the Joe's Little Italy Pizza premises as well as architectural barriers that

exist include, but are not limited to, the following:

       I.      The public entrance to the Joe's Little Italy Pizza premises is not
               accessible.
               Defendants fail to provide that at least 50% of all its public entrances are
               accessible. See 1991 ADA § 4.1.3(8)(a)(i).
               Defendants fail to provide that at least 60% of all its public entrances are
               accessible. See 2010 ADA § 206.4.1.



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         Defendants fail to provide that primary entrances are accessible. See 1968
         BC § 27-292.5(a).
         Defendants fail to provide that all of its public entrances are accessible.
         See 2008 BC § 1105.1; and 2014 BC § 1105.1.

  II.    No signage identifies an accessible entrance to the Joe's Little Italy Pizza
         premises (to the extent Defendants claim they provide an accessible public
         entrance).
         Defendants fail to display signage (marked with the International Symbol
         of Accessibility or otherwise) that identifies an accessible entrance. See
         1991 ADA §§ 4.1.2(7)(c); 4.1.3(8)(d); and 4.1.6(1)(h); 2010 ADA § 216.6;
         1968 BC § 27- 292.18; 2008 BC § 1110; and 2014 BC §§ 1101.3.4; and
         1110.

  III.   There is no directional signage at the inaccessible entrance to the Joe's
         Little Italy Pizza premises that indicates the location of an accessible
         entrance (to the extent Defendants claim they provide an accessible
         entrance).
         Defendants do not provide and display signage at the inaccessible public
         entrance (marked with the International Symbol of Accessibility or
         otherwise) that indicates the location of an accessible entrance. See 1991
         ADA §§ 4.1.6(1)(h) and 4.1.3(8)(d); and 2010 ADA Standards § 216.6.
         Defendants fail to provide directional signage at necessary locations. See
         1968 BC § 27-292.18(b).
         Defendants fail to provide directional signage by the inaccessible
         entrance indicating the route to the nearest accessible entrance. See 2008
         BC § 1110.2; and 2014 BC §§ 1101.3.3; and 1110.2.

  IV.    Maneuvering clearances for pulling open the inset public entrance door to
         enter the Joe's Little Italy Pizza premises is not provided due to the
         adjacent wall.
         Defendants fail to provide that floor or ground surface within required
         maneuvering clearances at doors shall have slopes not steeper than 1:48
         (2.0%) and changes in level are not permitted. 60 inches perpendicular to
         the door for 18 inches parallel to the door beyond the latch is required for
         a forward approach to the pull side of a door, or 54 inches perpendicular
         to the door for 24 inches parallel to the door beyond the latch is required
         for a latch approach to the pull side of a door. See 1991 ADA § 4.13.6;
         2010 ADA § 404.2.4; 1968 Ref Std § 4.13.6; 2008 Ref Std § 404.2.3; and
         2014 Ref Std § 404.2.3.

  V.     Maneuvering clearances for pulling open the inset public entrance door to
         enter the Joe's Little Italy Pizza premises is not provided due to the sloped
         floor within the maneuvering clearance.
         Defendants fail to provide that floor or ground surface within required
         maneuvering clearances at doors shall have slopes not steeper than 1:48
         (2.0%) and changes in level are not permitted. 60 inches perpendicular to


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          the door for 18 inches parallel to the door beyond the latch is required for
          a forward approach to the pull side of a door, or 54 inches perpendicular
          to the door for 24 inches parallel to the door beyond the latch is required
          for a latch approach to the pull side of a door. See 1991 ADA § 4.13.6;
          2010 ADA § 404.2.4; 1968 Ref Std § 4.13.6; 2008 Ref Std § 404.2.3; and
          2014 Ref Std § 404.2.3.

  VI.     There is no accessible seating at any of the Joe's Little Italy Pizza
          premises.
          Defendants fail to provide that at least 5% of the dining surfaces provided
          to customers are accessible. See 1991 ADA § 5.1; 2010 ADA § 226.1;
          1968 BC § 27-292.10(a)(3); 2008 BC § 1109.11; and 2014 BC § 1109.10.

  VII.    There are no accessible tables. All tables have fixed benches or posts that
          obstruct knee and toe clearances required for a forward approach to the
          seating.
          Defendants fail to provide that at least 5% of the dining surfaces provided
          to customers are accessible. See 1991 ADA § 5.1; 2010 ADA § 226.1;
          1968 BC § 27-292.10(a)(3); 2008 BC § 1109.11; and 2014 BC § 1109.10.
          Defendants fail to provide (due to fixed benches and/or posts) a clear floor
          space of 30 inches by 48 inches positioned for a forward approach and the
          required knee and toe clearance at accessible work surfaces and/or table
          surfaces. See 1991 ADA § 4.32.2; 2010 ADA § 902.2; 1968 Ref Std §
          4.30.2; 2008 Ref Std § § 902.2; and 2014 Ref Std § 902.2.

  VIII.   There is no accessible seating at the window dining counter in the Joe's
          Little Italy Pizza premises.
          Where food or drink is served at counters exceeding 34 inches in height
          for consumption by customers seated on stools or standing at the counter,
          a portion of the main counter which is 60 inches in length minimum shall
          be accessible or service shall be available at accessible tables within the
          same area. See 1991 ADA §§ 5.1 and 5.2.
          Defendants fail to provide that where dining surfaces are provided for the
          consumption of food or drink, at least 5 percent of the seating spaces and
          standing spaces at the dining surfaces shall be accessible. See 2010 ADA
          §§ 226.1 and 902.
          Defendants fail to provide that at least 5 percent of the seating and
          standing spaces are accessible. See 1968 BC § 27-292.10(a)(3); 2008
          1109.11; and 2014 BC § 1109.10.

  IX.     The window dining counter in the Joe's Little Italy Pizza premises exceeds
          34 inches in height.
          The tops of accessible dining surfaces shall be 28 inches minimum and 34
          inches maximum above the finish floor. See 1991 ADA § 4.32.4; 2010
          ADA § 902.3; 1968 Ref Std § 4.30.4; 2008 Ref Std § § 902.3; and 2014 Ref
          Std § 902.4.



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        X.      Accessible tables are not identified by the International Symbol of
                Accessibility (to the extent Defendants claim they provide accessible
                table(s)).
                Defendants fail to provide that accessible seating shall be identified by the
                International Symbol of Accessibility. See 2008 BC § 1110.1(9) and 2014
                BC § 1110.1(11).

        XI.     The entrance, which is also an exit, is not accessible for the reasons
                described above.
                Defendants fail to provide accessible means of egress in the number
                required by the code. See 1991 ADA § 4.1.3(9); 2010 ADA § 207.1; 1968
                BC §§ 27-292.1 and 27-357(d); 2008 BC § 1007.1; and 2014 BC §
                1007.1.

        25.     Plaintiff either personally encountered or has knowledge of such barriers

to access.

        26.     Upon information and belief, a full inspection of the Joe's Little Italy Pizza

premises will reveal the existence of other barriers to access.

        27.     As required by the ADA (remedial civil rights legislation) to properly

remedy Defendants’ discriminatory violations and avoid piecemeal litigation, Plaintiff

requires a full inspection of the Joe's Little Italy Pizza premises in order to catalogue and

cure all of the areas of non-compliance with the ADA. Notice is therefore given that

Plaintiff intends on amending the Complaint to include any violations discovered during

an inspection that are not contained in this Complaint.

        28.     Defendants have denied Plaintiff the opportunity to participate in or

benefit from services or accommodations because of disability.

        29.     Defendants have not satisfied their statutory obligation to ensure that their

policies, practices, procedures for persons with disabilities are compliant with the laws.

Nor have Defendants made or provided accommodations or modifications to persons

with disabilities.




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        30.        Plaintiff has a realistic, credible, and continuing threat of discrimination

from the Defendants’ non-compliance with the laws prohibiting disability discrimination.

The barriers to access within the Joe's Little Italy Pizza premises continue to exist and

deter Plaintiff.

        31.        Plaintiff frequently travels to the area where the Joe's Little Italy Pizza

premises is located.

        32.        Plaintiff is a member of the Bronx Zoo.

        33.        Plaintiff visits the Bronx Zoo five or more times a year.

        34.        The Belmont neighborhood of Bronx County, New York borders the

Bronx Zoo.

        35.        The Joe's Little Italy Pizza premises is located in the Belmont

neighborhood of Bronx County, New York.

        36.        The Joe's Little Italy Pizza premises is located less than ½ mile from the

Bronx Zoo and is reachable within seven minutes walking time.

        37.        Plaintiff enjoys pizza.

        38.        Plaintiff enjoys dining at restaurants and cafes.

        39.        Plaintiff goes to restaurants, cafes and bars that are accessible to him.

        40.        Plaintiff goes to the Belmont neighborhood in which 710 East 187th Street

is located as the area is within close proximity and easily reachable when he is visiting

the Bronx Zoo.

        41.        Plaintiff goes to the Belmont neighborhood in which 710 East 187th Street

is located to shop, dine and relax after visiting the Bronx Zoo.




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       42.     Plaintiff passes by the Joe's Little Italy Pizza premises from time to time

when he is in the Belmont neighborhood of Bronx County, New York, after visiting the

Bronx Zoo.

       43.     During one such occasion, in October 2024, Plaintiff passed by the Joe's

Little Italy Pizza premises.

       44.     The smell of the pizza, as he passed by the Joe's Little Italy pizza

premises, enticed him to enter.

       45.     Plaintiff ordered slices of pizza and Plaintiff enjoyed it.

       46.     However, Plaintiff did not enjoy the fact that there were no accessible

dining surfaces and that he had to eat the pizza over his lap.

       47.     Plaintiff also did not enjoy the fact that he was forced to eat his pizza in

the route used by other patrons to enter and exit the Joe’s Little Italy Pizza premises, and

the unintentional jostling from patrons as they attempted to squeeze by.

       48.     Plaintiff also did not enjoy the fact that he was being discouraged from

finishing his pizza at the Joe’s Little Italy Pizza premises to accommodate the flow of

customers into and through the Joe’s Little Italy Pizza premises.

       49.     Plaintiff desires the opportunity to enjoy fully enjoy the Joe’s Little Italy

Pizza premises no different than a self-ambulating person.

       50.     Being treated as inferior to other patrons based on disability by

Defendants, mars Plaintiff’s dining experience and deters him from returning to the Joe’s

Little Italy Pizza premises and enjoying its fare.

       51.     Therefore, while Plaintiff wants to patronize the Joe’s Little Italy Pizza

premises, he is deterred from going to the Joe’s Little Italy Pizza premises.




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        52.     Because of Defendants’ failure to comply with the law, Plaintiff was and

continues to be unable to enjoy safe, equal and complete access to Defendants’ place of

public accommodation.

        53.     By maintaining barriers to wheelchair access at the Joe’s Little Italy Pizza

premises, Defendants deny Plaintiff on the basis of disability, full and equal enjoyment of

the goods, services, facilities, privileges, advantages, and accommodations Defendants

offer at the Joe’s Little Italy Pizza premises.

        54.     Defendants discriminated and continue to discriminate against mobility

impaired customers by providing less and unequal access to their premises, services,

offerings and accommodations than what they provide to nondisabled customers.

        55.     Defendants discriminated and continue to discriminate against mobility

impaired customers by limiting and reducing the options available to mobility impaired

customers as compared to the options available to nondisabled customers.

        56.     Plaintiff desired and continues to desire to access and enjoy the entire

Joe’s Little Italy Pizza premises but suffered hardship and emotional distress due to

architectural barriers.

        57.     Plaintiff is deterred from patronizing the Joe's Little Italy Pizza premises

due to the barriers to wheelchair access detailed herein.

        58.     After the Joe's Little Italy Pizza premises becomes fully accessible and

compliant with the 1991 Standards or the 2010 Standards, and the Administrative Code,

Plaintiff intends to patronize the Joe's Little Italy Pizza premises one or more times a

year, when he is in the Belmont neighborhood of the Bronx,




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       59.     Plaintiff also intends to utilize his visits to the Joe's Little Italy Pizza

premises to monitor, ensure, and determine whether the Joe's Little Italy Pizza premises

is fully accessible and compliant with the 1991 Standards or the 2010 Standards, and the

Administrative Code.

       60.     Plaintiff continues to suffer an injury due to Defendants maintenance of

architectural barriers at the Joe's Little Italy Pizza premises. This is because he desires to

dine at the Joe's Little Italy Pizza premises but Defendants deny him the opportunity to

do so based on disability because they maintain architectural barriers at the Joe's Little

Italy Pizza premises.

       61.     Defendants discriminate against Plaintiff in violation of the ADA, the

NYSHRL and the NYCHRL as they created, maintain and have failed to remove

architectural barriers to wheelchair access at the Joe's Little Italy Pizza premises.

                         FIRST CAUSE OF ACTION
        (VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT)

       62.     Plaintiff realleges and incorporates by reference all allegations set forth in

this Complaint as if fully set forth herein.

       63.     Plaintiff is substantially limited in the life activity of both walking and

body motion range and thus has a disability within the meaning of the ADA. As a direct

and proximate result of Plaintiff’s disability, Plaintiff uses a wheelchair for mobility, and

also has restricted use of arms and hands.

       64.     The ADA imposes joint and several liability on both the property owner

and lessee of a public accommodation. 28 C.F.R. 36.201(b).




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       65.      Under the ADA, both the property owner and lessee are liable to the

Plaintiff, and neither can escape liability by transferring their obligations to the other by

contract (i.e. lease agreement). 28 C.F.R. 36.201(b).

       66.      Defendants have and continue to subject Plaintiff to disparate treatment by

denying Plaintiff full and equal opportunity to use their place of public accommodation

all because Plaintiff is disabled. Defendants’ policies and practices have and continue to

subject Plaintiff to disparate treatment and disparate impact.

       67.      By failing to comply with the law in effect for decades, Defendants have

articulated to disabled persons such as the Plaintiff that they are not welcome,

objectionable, and not desired as patrons of their public accommodation.

       68.      Defendants have discriminated against the Plaintiff by designing and/or

constructing a building, facility and place of public accommodation that is not readily

accessible to and usable by the disabled Plaintiff and not fully compliant with the 1991

Standards or the 2010 Standards. See 28 C.F.R. § 36.401(A)(1) and 42 U.S.C.

§12183(a)(1).

       69.      The Joe's Little Italy Pizza premises are not fully accessible and fail to

provide an integrated and equal setting for the disabled, all in violation of 42 U.S.C.

§12182(b)(1)(A) and 28 C.F.R. § 36.203.

       70.      Defendants failed to make alteration accessible to the maximum extent

feasible in violation of 28 C.F.R. §§ 36.402 and 36.406 and 42 U.S.C. §12183(a)(2).

       71.      The paths of travel to the altered primary function areas were not made

accessible in violation of 28 C.F.R. § 36.403.




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          72.   Defendants failed to make all readily achievable accommodations and

modifications to remove barriers to access in violation of 28 C.F.R. § 36.304. It would

be readily achievable to make Defendants’ place of public accommodation fully

accessible.

          73.   By failing to remove the barriers to access where it is readily achievable to

do so, Defendants have discriminated against Plaintiff on the basis of disability in

violation of § 302(a) and 302(b)(2)(A)(iv) of the ADA, 42 U.S.C. § 12182(a),

(b)(2)(A)(iv), and 28 C.F.R. § 36.304.

          74.   In the alternative, Defendants have violated the ADA by failing to provide

Plaintiff with reasonable alternatives to barrier removal as required by 28 C.F.R. §

36.305.

       75.      Defendants’ failure to remove the barriers to access constitutes a pattern

and practice of disability discrimination in violation of 42 U.S.C. § 12181 et. seq., and 28

C.F.R § 36.101 et. seq.

       76.      Defendants have and continue to discriminate against Plaintiff in violation

of the ADA by maintaining and/or creating an inaccessible public accommodation.


                     SECOND CAUSE OF ACTION
      (VIOLATIONS OF THE NEW YORK STATE HUMAN RIGHTS LAW)

          77.   Plaintiff realleges and incorporates by reference all allegations set forth in

this Complaint as if fully set forth herein.

          78.   Plaintiff suffers from various medical conditions that separately and

together prevent the exercise of normal bodily functions in Plaintiff; in particular, the life

activities of both walking and body motion range. Plaintiff therefore suffers from a

disability within the meaning of the Executive Law § 292(21).


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        79.     In 2019, the New York State legislature enacted legislation that provides

effective immediately that the New York State Human Rights Law shall be “construed

liberally for the accomplishment of the remedial purposes thereof, regardless of whether

federal civil rights laws, including those laws with provisions worded comparably to the

provisions of this article, have been so construed”. See Executive Law § 300 [effective

date: August 12, 2019].

        80.     By amending the Executive Law § 300 to mirror the text of the New York

City Local Civil Rights Restoration Act of 2005 (Local Law 85 of 2005), the New York

State legislature confirmed the legislative intent to abolish parallel construction between

the New York State Human Rights Law and related Federal anti-discrimination laws.

        81.     Defendants have and continue to subject Plaintiff to disparate treatment by

denying Plaintiff equal opportunity to use their place of public accommodation all

because Plaintiff is disabled.

        82.     Defendants discriminated against Plaintiff in violation of NYSHRL

(Executive Law § 296(2)), by maintaining and/or creating an inaccessible place of public

accommodation. Each of the Defendants have aided and abetted others in committing

disability discrimination.

        83.     Defendants have failed to make all readily achievable accommodations

and modifications to remove barriers to access in violation of NYSHRL (Executive Law

§ 296(2)(c)(iii)).

        84.     In the alternative, Defendants have failed to provide Plaintiff with

reasonable alternatives to barrier removal as required in violation of NYSHRL

(Executive Law § 296(2)(c)(v)).




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       85.     It would be readily achievable to make Defendants’ place of public

accommodation fully accessible.

       86.     It would not impose an undue hardship or undue burden on Defendants to

make their place of public accommodation fully accessible.

       87.     As a direct and proximate result of Defendants’ unlawful discrimination in

violation of NYSHRL, Plaintiff has suffered, and continues to suffer emotional distress,

including but not limited to humiliation, embarrassment, stress, and anxiety.

       88.     Plaintiff has suffered and will continue to suffer damages in an amount to

be determined at trial.

                      THIRD CAUSE OF ACTION
       (VIOLATIONS OF THE NEW YORK CITY HUMAN RIGHTS LAW)

       89.     Plaintiff realleges and incorporates by reference all allegations set forth in

this Complaint as if fully set forth herein.

       90.     Plaintiff suffers from various medical conditions that separately and

together, impair Plaintiff’s bodily systems - in particular, the life activity of both walking

and body motion range -and thus Plaintiff has a disability within the meaning of the

NYCHRL (Administrative Code § 8-102).

       91.     The Local Civil Rights Restoration Act of 2005 (the “Restoration Act”),

also known as Local Law 85, clarified the scope of the Administrative Code in relation to

the NYCHRL. The Restoration Act confirmed the legislative intent to abolish

“parallelism” between the NYCHRL and the Federal and New York State anti-

discrimination laws by stating as follows:

       The provisions of this title shall be construed liberally for the accomplishment of
       the uniquely broad and remedial purposes thereof, regardless of whether federal
       or New York State civil and human rights laws, including those laws with
       provisions comparably-worded to provisions of this title, have been so construed.


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Restoration Act § 7 amending Administrative Code §8-130 of the NYCHRL (emphasis

added). The Restoration Act is to be construed broadly in favor of Plaintiff to the fullest

extent possible. See also New York City Local Law 35 of 2016.

       92.     Defendants have and continue to subject Plaintiff to disparate treatment

and disparate impact by directly and indirectly refusing, withholding, and denying the

accommodations, advantages, facilities, and privileges of their place of public

accommodation all because of disability in violation of the NYCHRL (Administrative

Code § 8-107(4)). Each of the Defendants have aided and abetted others in committing

disability discrimination.

       93.     Defendants have and continue to commit disability discrimination in

violation of the Administrative Code (inclusive of § 8-107(4)) because of the violations

of the ADA as alleged herein.

       94.     Defendants have discriminated, and continue to discriminate, against

Plaintiff in violation of the NYCHRL (Administrative Code § 8-107(4)) by designing,

creating and/or maintaining an inaccessible commercial facility/space.

       95.     Defendants have subjected, and continue to subject, Plaintiff to disparate

treatment by directly and indirectly refusing, withholding, and denying the

accommodations, advantages, facilities, and privileges of their commercial facility/space

all because of disability in violation of the NYCHRL (Administrative Code § 8-107(4)).

       96.     Defendants’ policies and procedures inclusive of the policies of refusing to

expend funds to design, create and/or maintain an accessible commercial facility/space is

a discriminatory practice in violation of NYCHRL (Administrative Code § 8-107 (4)).




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       97.     Defendants’ failure to provide reasonable accommodations for persons

with disabilities, inclusive of Defendants’ failure to remove the barriers to access

identified herein, and their consequent denial of equal opportunity to Plaintiff, constitutes

an ongoing continuous pattern and practice of disability discrimination in violation of

NYCHRL (Administrative Code §§ 8-107(4) and 8-107(15)).

       98.     In violation of the NYCHRL (Administrative Code § 8-107(6)),

Defendants have and continue to, aid and abet, incite, compel, or coerce each other in

each of the other Defendants’ attempts to, and in their acts of directly and indirectly

refusing, withholding, and denying the accommodations, advantages, facilities, and

privileges of their commercial facility/space and the place of public accommodation

therein, all because of disability, as well as other acts in violation of the NYCHRL.

       99.     Administrative Code §§ 19-152 and 7-210 impose a non-delegable duty on

the property owner to repave, reconstruct, repair, and maintain its abutting public

sidewalk. As a result, Matera Realty Corp. continuously controlled, managed, and

operated the public sidewalk abutting 710 East 187th Street, which includes the portion

of the sidewalk constituting the entrance to Defendants’ place of public accommodation.

       100.    Matera Realty Corp.’s failure to construct and maintain an accessible

entrance from the public sidewalk to Defendants’ place of public accommodation

constitutes disability discrimination in a violation of the Administrative Code.

       101.    Defendants discriminated against Plaintiff in violation of the NYCHRL

(Administrative Code, § 8-107(4)) by maintaining and/or creating an inaccessible public

accommodation.




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       102.    Defendants’ conduct also violates the NYCHRL, Administrative Code 8-

107 (17), which states that “an unlawful discriminatory practice . . . is established . . .

[when plaintiff] demonstrates that a policy or practice of a covered entity or a group of

policies or practices of a covered entity results in a disparate impact to the detriment of

any group protected by the provisions of this chapter.”

       103.    Because Defendants’ public accommodation is not readily accessible and

usable by people with disabilities, Defendants have demonstrated a policy or practice that

has a disproportionately negative impact on the disabled (including Plaintiff).

       104.    Defendants’ conduct constitutes an ongoing and continuous violation of

the NYCHRL. Unless Defendants are enjoined from further violations, Plaintiff will

continue to suffer injuries for which there is no adequate remedy at law. In particular,

Plaintiff will suffer irreparable harm by being denied the accommodations, advantages,

facilities, or privileges of the Defendants’ public accommodation.

       105.    As a direct and proximate result of Defendants’ unlawful discrimination in

violation of the NYCHRL, Plaintiff has suffered, and continues to suffer emotional

distress, including but not limited to humiliation, stress, and embarrassment.

       106.    Upon information and belief, Defendants’ long-standing refusal to make

their place of public accommodation fully accessible was deliberate, calculated,

egregious, and undertaken with reckless disregard to Plaintiff’s rights under the

NYCHRL.

       107.    By failing to comply with the law in effect for decades, Defendants have

articulated to disabled persons such as the Plaintiff that they are not welcome,

objectionable, and not desired as patrons of their public accommodation.




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       108.    Defendants engaged in discrimination with willful or wanton negligence,

and/or recklessness, and/or a conscious disregard of the rights of others and/or conduct so

reckless as to amount to such disregard for which Plaintiff is entitled to an award of

punitive damages pursuant to NYCHRL (Administrative Code § 8-502).

       109.    By refusing to make their place of public accommodation accessible,

Defendants have unlawfully profited from their discriminatory conduct by collecting

revenue from a non-compliant space and pocketing the money that they should have

lawfully expended to pay for a fully compliant and accessible space. Defendants’

unlawful profits plus interest must be disgorged.

       110.    Plaintiff has suffered and will continue to suffer damages in an amount to

be determined at trial.

                     FOURTH CAUSE OF ACTION
       (VIOLATIONS OF THE NEW YORK STATE CIVIL RIGHTS LAW)

       111.    Plaintiff realleges and incorporates by reference all allegations set in this

Complaint as if fully set forth herein.

       112.    Defendants discriminated against Plaintiff pursuant to New York State

Executive Law.

       113.    Consequently, Plaintiff is entitled to recover the monetary penalty

prescribed by Civil Rights Law §§ 40-c and 40-d for each and every violation.

       114.    Notice of this action has been served upon the Attorney General as

required by Civil Rights Law § 40-d.

                                     INJUNCTIVE RELIEF

       115.    Plaintiff will continue to experience unlawful discrimination as a result of

Defendants’ failure to comply with the above-mentioned laws. Therefore, injunctive



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relief is necessary to order Defendants to alter and modify their place of public

accommodation and their operations, policies, practices, and procedures.

       116.    Injunctive relief is also necessary to make Defendants’ facilities readily

accessible to and usable by Plaintiff in accordance with the above-mentioned laws.

       117.    Injunctive relief is further necessary to order Defendants to provide

auxiliary aids or services, modification of their policies, and/or provision of alternative

methods, in accordance with the ADA, NYSHRL, and the NYCHRL.

                                       JURY DEMAND

                    Plaintiff demands a trial by jury on all claims so triable.

                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that the Court enter a judgment

against the Defendants, jointly and severally, in favor of Plaintiff that contains the

following relief:

           A. Enter declaratory judgment declaring that Defendants have violated the

ADA and its implementing regulations, the NYSHRL, and the NYCHRL and declaring

the rights of Plaintiff as to Defendants’ place of public accommodation, and Defendants’

policies, practices, and procedures;

           B. Issue a permanent injunction ordering Defendants to close and cease all

business until Defendants remove all violations of the ADA, the 1991 Standards or the

2010 Standards, the NYSHRL, and the NYCHRL, including but not limited to the

violations set forth above;

           C. Retain jurisdiction over the Defendants until the Court is satisfied that the

Defendants’ unlawful practices, acts and omissions no longer exist and will not reoccur;




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           D. Award Plaintiff compensatory damages as a result of Defendants’

violations of the NYSHRL and the NYCHRL;

           E. Award Plaintiff punitive damages in order to punish and deter the

Defendants for their violations of the NYCHRL;

           F. Award Plaintiff the monetary penalties for each and every violation of the

law, per defendant, pursuant to New York State Civil Rights Law §§ 40-c and 40-d;

           G. Find that Plaintiff is a prevailing party and award reasonable attorney’s

fees, costs, and expenses pursuant to the NYSHRL and the NYCHRL;

           H. Find that Plaintiff is a prevailing party and award reasonable attorney’s

fees, costs, and expenses pursuant to the ADA; and

           I. For such other and further relief, at law or in equity, to which Plaintiff

may be justly entitled.

Dated: January 29, 2025
       New York, New York
                                              Respectfully submitted,

                                              HANSKI PARTNERS LLC

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